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10                               UNITED STATES DISTRICT COURT

11                                       DISTRICT OF NEVADA

12 UNITED STATES OF AMERICA,                         )
                                                     )
13                 Plaintiff,                        )
                                                     ) Case No. 2:11-CR-434-LDG-(PAL)
14          v.                                       )
                                                     )
15 EDUARD PETROIU, et. al.,                          )
                                                     )
16                 Defendants.                       )
                                                     )
17                                                   )

18

19                      STIPULATED MOTION TO CONTINUE DISCOVERY
20          COME NOW the parties and stipulate to continue the discovery cut-off in the above-

21 captioned case for an additional 90 days or until September 8, 2015. Discovery cut-off is currently

22 scheduled for June 8, 2015. The parties have already engaged in discovery with the Claimants

23 Mariya Yunkerova-Nedyalkova and Atanas Nedyalkova having provided the United States with

24 some bank statements. The United States has analyzed those statements and has requested that the

25 Claimants provide additional documents in the form of deposit slips and other support bank

26 documentation. Claimants have agreed to make a request to the bank for these documents, without
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 1 the need for the Government to serve subpoenas on the bank, but because of injuries Claimant

 2 Yunkerova-Nedyalkova sustained from a recent car accident, Claimants will not be able to obtain

 3 those records during her period of convalescence which will extend for the next two to three weeks.

 4 Once the Government has received and reviewed those additional bank records, Counsel for the

 5 Government anticipates deposing both Claimants before ascertaining whether, and to what extent,

 6 the case has a settlement value. In addition to the Claimants, some discovery in this case may

 7 require Government counsel to depose incarcerated witnesses.

 8           In the interim, counsel for the Government anticipates being absent from the office for a

 9 large portion of the next 60 days on business travel, conducting depositions in several locations in

10 the case of United States v. $1,002,327, et. al., (Civ. Doc. 2:13-CV-100-JCM-(GWF) and 2:13-CV-

11 947-JCM-(GWF)) and on personal leave.

12           Given the foregoing, the parties have agreed to extend the discovery cut-off deadline in this

13 matter for an additional sixty (90) days, or until September 8, 2015.

14           This motion is not submitted solely for the purpose to delay or for any other improper

15 purpose.

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 1         WHEREFORE, the United States moves this Court to grant a ninety-day continuance, or

 2 until September 8, 2015, for the parties to complete discovery.

 3         Dated this 5th day of June 2015.

 4
                                                         Respectfully submitted,
 5
                                                         DANIEL G. BOGDEN
 6                                                       United States Attorney
 7                                                       /s/Michael A. Humphreys
                                                         MICHAEL A. HUMPHREYS
 8

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10                                                       IT IS SO ORDERED:
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13                                                                      DISTRICT
                                                         UNITED STATES MAGISTRATE JUDGE
14                                                       DATED:               October 2015

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